Case 16-36960   Doc 26   Filed 09/28/17 Entered 09/28/17 17:09:55   Desc Main
                           Document     Page 1 of 5
Case 16-36960   Doc 26   Filed 09/28/17 Entered 09/28/17 17:09:55   Desc Main
                           Document     Page 2 of 5
Case 16-36960   Doc 26   Filed 09/28/17 Entered 09/28/17 17:09:55   Desc Main
                           Document     Page 3 of 5
Case 16-36960   Doc 26   Filed 09/28/17 Entered 09/28/17 17:09:55   Desc Main
                           Document     Page 4 of 5
Case 16-36960   Doc 26   Filed 09/28/17 Entered 09/28/17 17:09:55   Desc Main
                           Document     Page 5 of 5
